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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA

 SENIOR CARE GROUP, INC., a                       )
 Pennsylvania corporation, individually and       )
 as the representative of a class of similarly-   )
 situated persons,                                )
                                                  )
                        Plaintiff,                )     Civil Action No:
                                                  )
                 v.                               )     CLASS ACTION
                                                  )
 D-ZEE TEXTILES LLC, a Florida limited            )
 liability company, and JOHN DOES 1-5,            )
                                                  )
                        Defendants.               )

                                 CLASS ACTION COMPLAINT

       Plaintiff, SENIOR CARE GROUP, INC. (“Plaintiff”), brings this action on behalf of itself

and all others similarly situated, through its attorneys, and except as to those allegations pertaining

to Plaintiff or its attorneys, which allegations are based upon personal knowledge, alleges the

following upon information and belief against Defendants, D-ZEE TEXTILES LLC and JOHN

DOES 1-5 (“Defendants”):

                                 PRELIMINARY STATEMENT

       1.      This case challenges Defendants’ practice of sending unsolicited facsimiles.

       2.      The federal Telephone Consumer Protection Act of 1991, as amended by the Junk

Fax Prevention Act of 2005, 47 USC § 227 (“JFPA” or the “Act”), and the regulations promulgated

under the Act, prohibit a person or entity from faxing or having an agent fax advertisements

without the recipient’s prior express invitation or permission. The JFPA provides a private right

of action and provides statutory damages of $500 per violation. Upon information and belief,

Defendants have sent facsimile transmissions of unsolicited advertisements to Plaintiff and the

Class in violation of the JFPA, including, but not limited to, the facsimile transmissions of
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unsolicited advertisements on two different times on or about January 18, 2017 (“the Faxes”), true

and correct copies of which are attached hereto as Exhibit A, and made a part hereof. The Faxes

describe the commercial availability or quality of Defendants’ products, goods and services.

Plaintiff is informed and believes, and upon such information and belief avers, that Defendants

have sent, and continue to send, unsolicited advertisements via facsimile transmission in violation

of the JFPA, including but not limited to those advertisements sent to Plaintiff.

       3.      Unsolicited faxes damage their recipients. A junk fax recipient loses the use of its

fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable time that

would have been spent on something else. A junk fax interrupts the recipient’s privacy. Unsolicited

faxes prevent fax machines from receiving authorized faxes, prevent their use for authorized

outgoing faxes, cause undue wear and tear on the recipients’ fax machines, and require additional

labor to attempt to discern the source and purpose of the unsolicited message.

       4.      On behalf of itself and all others similarly situated, Plaintiff brings this case as a

class action asserting claims against Defendants under the JFPA. Plaintiff seeks to certify a class

including faxes sent to Plaintiff and other advertisements sent without proper opt-out language or

without prior express invitation or permission, whether sent to Plaintiff or not.

       5.      Plaintiff is informed and believes, and upon such information and belief avers, that

this action is based upon a common nucleus of operative facts because the facsimile transmissions

at issue were and are being done in the same or similar manner. This action is based on the same

legal theory, namely liability under the JFPA. This action seeks relief expressly authorized by the

JFPA: (i) injunctive relief enjoining Defendants, their employees, agents, representatives,

contractors, affiliates, and all persons and entities acting in concert with them, from sending

unsolicited advertisements in violation of the JFPA; and (ii) an award of statutory damages in the




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minimum amount of $500 for each violation of the JFPA, and to have such damages trebled, as

provided by § 227(b)(3) of the Act.

                                 JURISDICTION AND VENUE

         6.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C.

§ 227.

         7.    This court has personal jurisdiction over Defendants because Defendants transact

business within this judicial district, have made contacts within this judicial district, and/or have

committed tortious acts within this judicial district.

                                             PARTIES

         8.    Plaintiff, SENIOR CARE GROUP, INC., is a Pennsylvania corporation with its

principal place of business in Tampa, Florida.

         9.    On information and belief, Defendant, D-ZEE TEXTILES LLC is a Florida limited

liability company.

         10.   JOHN DOES 1-5 will be identified through discovery, but are not presently known.

                                               FACTS

         11.   On information and belief, on or about January 18, 2017, Defendants used a

telephone facsimile machine, computer, or other device to send two unsolicited facsimiles to

Plaintiff. Copies of the facsimiles are attached hereto as Exhibit A.

         12.   On information and belief, Defendants receive some or all of the revenues from the

sale of the products, goods and services advertised on Exhibit A, and Defendants profit and benefit

from the sale of the products, goods and services advertised on Exhibit A.

         13.   Plaintiff did not give prior express invitation or permission to Defendants to send

the faxes.




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       14.     On information and belief, Defendants faxed the same and other unsolicited

facsimiles without the required opt-out language to Plaintiff and at least 40 other recipients or sent

the same and other advertisements by fax with the required opt-out language but without first

receiving the recipients’ express invitation or permission and without having an established

business relationship as defined by the TCPA and its regulations.

       15.     There is no reasonable means for Plaintiff (or any other class member) to avoid

receiving unauthorized faxes. Fax machines are left on and ready to receive the urgent

communications their owners desire to receive.

       16.     Defendants’ facsimiles attached as Exhibit A do not display a proper opt-out

notice as required by 47 C.F.R. § 64.1200.

                               CLASS ACTION ALLEGATIONS

       17.     In accordance with Fed. R. Civ. P. 23(b)(1), (b)(2) and (b)(3), Plaintiff brings this

class action pursuant to the JFPA, on behalf of the following class of persons:

               All persons who (1) on or after four years prior to the filing of this
               action, (2) were sent telephone facsimile messages of material
               advertising the commercial availability or quality of any property,
               goods, or services by or on behalf of Defendants, (3) from whom
               Defendants did not obtain “prior express invitation or permission”
               to send fax advertisements, or (4) with whom Defendants did not
               have an established business relationship, and/or (5) which did not
               display a proper opt-out notice.

Excluded from the Class are the Defendants, their employees, agents and members of the Judiciary.

Plaintiff seeks to certify a class which include but are not limited to the fax advertisements sent to

Plaintiff. Plaintiff reserves the right to amend the class definition upon completion of class

certification discovery.

       18.     Class Size (Fed. R. Civ. P. 23(a)(1)): Plaintiff is informed and believes, and upon

such information and belief avers, that the number of persons and entities of the Plaintiff Class is



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numerous and joinder of all members is impracticable. Plaintiff is informed and believes, and upon

such information and belief avers, that the number of class members is at least forty.

       19.     Commonality (Fed. R. Civ. P. 23 (a) (2)): Common questions of law and fact apply

to the claims of all class members. Common material questions of fact and law include, but are not

limited to, the following:

               (a)     Whether the Defendants sent unsolicited fax advertisements;

               (b)     Whether Defendants’ faxes sent to other persons, not the Plaintiff, constitute

       advertisements;

               (c)     Whether the Defendants’ faxes advertised the commercial availability or

       quality of property, goods, or services;

               (d)     The manner and method the Defendants used to compile or obtain the list

       of fax numbers to which they sent Exhibit A, other unsolicited faxed advertisements or

       other advertisements without the required opt-out language;

               (e)     Whether the Defendants faxed advertisements without first obtaining the

       recipient's prior invitation or permission;

               (f)     Whether the Defendants sent the faxed advertisements knowingly;

               (g)     Whether the Defendants violated the provisions of 47 U.S.C. § 227 and the

       regulations promulgated thereunder;

               (h)     Whether the faxes contain an “opt-out notice” that complies with the

       requirements of § (b)(1)(C)(iii) of the Act, and the regulations promulgated thereunder,

       and the effect of the failure to comply with such requirements;

               (i)     Whether the Defendants should be enjoined from faxing advertisements in

       the future;




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                (j)     Whether the Plaintiff and the other members of the class are entitled to

        statutory damages; and

                (k)     Whether the Court should award treble damages.

        20.     Typicality (Fed. R. Civ. P. 23 (a) (3)): The Plaintiff's claims are typical of the

claims of all class members. The Plaintiff received the same or similar faxes as the faxes sent by

or on behalf of the Defendants advertising products, goods and services of the Defendants during

the Class Period. The Plaintiff is making the same claims and seeking the same relief for itself and

all class members based upon the same federal statute. The Defendants have acted in the same or

in a similar manner with respect to the Plaintiff and all the class members by sending Plaintiff and

each member of the class the same or similar faxes or faxes which did not contain the proper opt-

out language or were sent without prior express invitation or permission.

        21.     Fair and Adequate Representation (Fed. R. Civ. P. 23 (a) (4)): The Plaintiff will

fairly and adequately represent and protect the interests of the class. It is interested in this matter,

has no conflicts, and has retained experienced class counsel to represent the class.

        22.     Need for Consistent Standards and Practical Effect of Adjudication (Fed. R. Civ.

P. 23 (b) (1)): Class certification is appropriate because the prosecution of individual actions by

class members would: (a) create the risk of inconsistent adjudications that could establish

incompatible standards of conduct for the Defendants, and/or (b) as a practical matter, adjudication

of the Plaintiff's claims will be dispositive of the interests of class members who are not parties.

        23.     Common Conduct (Fed. R. Civ. P. 23 (b) (2)):               Class certification is also

appropriate because the Defendants have acted in the same or similar manner with respect to all

class members thereby making injunctive and declaratory relief appropriate. The Plaintiff demands

such relief as authorized by 47 U.S.C. §227.




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       24.     Predominance and Superiority (Fed. R. Civ. P. 23 (b) (3)): Common questions of

law and fact predominate over any questions affecting only individual members, and a class action

is superior to other methods for the fair and efficient adjudication of the controversy because:

               (a)     Proof of the claims of the Plaintiff will also prove the claims of the class

       without the need for separate or individualized proceedings;

               (b)     Evidence regarding defenses or any exceptions to liability that the

       Defendants may assert and attempt to prove will come from the Defendants’ records and

       will not require individualized or separate inquiries or proceedings;

               (c)     The Defendants have acted and are continuing to act pursuant to common

       policies or practices in the same or similar manner with respect to all class members;

               (d)     The amount likely to be recovered by individual class members does not

       support individual litigation. A class action will permit a large number of relatively small

       claims involving virtually identical facts and legal issues to be resolved efficiently in one

       proceeding based upon common proofs; and

               (e)     This case is inherently manageable as a class action in that:

                       (i)     The Defendants identified persons to receive the fax transmissions

               and it is believed that the Defendants’ and/or Defendants’ agents’ computers and

               business records will enable the Plaintiff to readily identify class members and

               establish liability and damages;

                       (ii)    Liability and damages can be established for the Plaintiff and the

               class with the same common proofs;

                       (iii)   Statutory damages are provided for in the statute and are the same

               for all class members and can be calculated in the same or a similar manner;




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                       (iv)   A class action will result in an orderly and expeditious

               administration of claims and it will foster economics of time, effort and expense;

                       (v)    A class action will contribute to uniformity of decisions concerning

               the Defendants’ practices; and

                       (vi)   As a practical matter, the claims of the class are likely to go

               unaddressed absent class certification.

              Claim for Relief for Violation of the JFPA, 47 U.S.C. § 227 et seq.

       25.     The JFPA makes it unlawful for any person to “use any telephone facsimile

machine, computer or other device to send, to a telephone facsimile machine, an unsolicited

advertisement . . . .” 47 U.S.C. § 227(b)(1)(C).

       26.     The JFPA defines “unsolicited advertisement” as “any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person's prior express invitation or permission, in writing or otherwise.”

47 U.S.C. § 227 (a) (5).

       27.     Opt-Out Notice Requirements. The JFPA strengthened the prohibitions against

the sending of unsolicited advertisements by requiring, in § (b)(1)(C)(iii) of the Act, that senders

of faxed advertisements place a clear and conspicuous notice on the first page of the transmission

that contains the following among other things (hereinafter collectively the “Opt-Out Notice

Requirements”):

               (1)     A statement that the recipient is legally entitled to opt-out of receiving

       future faxed advertisements – knowing that he or she has the legal right to request an opt-

       out gives impetus for recipients to make such a request, if desired;

               (2)     A statement that the sender must honor a recipient’s opt-out request within

       30 days and the sender’s failure to do so is unlawful – thereby encouraging recipients to

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       opt-out, if they did not want future faxes, by advising them that their opt-out requests will

       have legal “teeth”;

               (3)     A statement advising the recipient that he or she may opt-out with respect

       to all of his or her facsimile telephone numbers and not just the ones that receive a faxed

       advertisement from the sender – thereby instructing a recipient on how to make a valid opt-

       out request for all of his or her fax machines;

               (4)     The opt-out language must be conspicuous.

       The requirement of (1) above is incorporated from § (b)(D)(ii) of the Act. The requirement

of (2) above is incorporated from § (b)(D)(ii) of the Act and the rules and regulations of the Federal

Communications Commission (the “FCC”) in ¶ 31 of its 2006 Report and Order (In the Matter of

Rules and Regulations Implementing the Telephone Consumer Protection Act, Junk Prevention

Act of 2005, 21 F.C.C.R. 3787, 2006 WL 901720, which rules and regulations took effect on

August 1, 2006). The requirements of (3) above are contained in § (b)(2)(E) of the Act and

incorporated into the Opt-Out Notice Requirements via § (b)(2)(D)(ii). Compliance with the Opt-

Out Notice Requirements is neither difficult nor costly. The Opt-Out Notice Requirements are

important consumer protections bestowed by Congress upon the owners of the telephone lines and

fax machines giving them the right, and means, to stop unwanted faxed advertisements.

       28.     2006 FCC Report and Order. The JFPA, in § (b)(2) of the Act, directed the FCC

to implement regulations regarding the JFPA, including the JFPA’s Opt-Out Notice Requirements

and the FCC did so in its 2006 Report and Order, which in addition provides among other things:

               A.      The definition of, and the requirements for, an established business

       relationship for purposes of the first of the three prongs of an exemption to liability under

       § (b)(1)(C)(i) of the Act and provides that the lack of an “established business relationship”




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       precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See 2006

       Report and Order ¶¶ 8-12 and 17-20);

               B.      The required means by which a recipient’s facsimile telephone number must

       be obtained for purposes of the second of the three prongs of the exemption under

       § (b)(1)(C)(ii) of the Act and provides that the failure to comply with these requirements

       precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See 2006

       Report and Order ¶¶ 13-16);

               C.      The things that must be done in order to comply with the Opt-Out Notice

       Requirements for the purposes of the third of the three prongs of the exemption under

       § (b)(1)(C)(iii) of the Act and provides that the failure to comply with these requirements

       precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See 2006

       Report and Order ¶¶ 24-34);

               D.      The failure of a sender to comply with the Opt-Out Notice Requirements

       precludes the sender from claiming that a recipient gave “prior express invitation or

       permission” to receive the sender’s faxes (See Report and Order ¶ 48).

       As a result thereof, a sender of a faxed advertisement who fails to comply with the Opt-

Out Notice Requirements has, by definition, transmitted an unsolicited advertisement under the

JFPA. This is because such a sender can neither claim that the recipients of the faxed advertisement

gave “prior express invitation or permission” to receive the fax nor can the sender claim the

exemption from liability contained in § (b)(C)(1) of the Act.

       29.     The Faxes. On or about January 18, 2017 Defendants sent the advertisements at

two different times, via facsimile transmission from telephone facsimile machines, computers, or

other devices to the telephone lines and facsimile machines of Plaintiff and members of the

Plaintiff Class. The Faxes constituted advertisements under the Act. Defendants failed to comply

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with the Opt-Out Requirements in connection with the Faxes. The Faxes were transmitted to

persons or entities without their prior express invitation or permission and/or Defendants are

precluded from asserting any prior express invitation or permission or that Defendants had an

established business relationship with Plaintiff and other members of the class, because of the

failure to comply with the Opt-Out Notice Requirements. By virtue thereof, Defendants violated

the JFPA and the regulations promulgated thereunder by sending the Faxes via facsimile

transmission to Plaintiff and members of the Class. Plaintiff seeks to certify a class which includes

these Faxes and all others sent during the four years prior to the filing of this case through the

present.

       30.     Defendants’ Other Violations. Plaintiff is informed and believes, and upon such

information and belief avers, that during the period preceding four years of the filing of this

Complaint and repeatedly thereafter, Defendants have sent via facsimile transmission from

telephone facsimile machines, computers, or other devices to telephone facsimile machines of

members of the Plaintiff Class other faxes that constitute advertisements under the JFPA that were

transmitted to persons or entities without their prior express invitation or permission (and/or that

Defendants are precluded from asserting any prior express invitation or permission or that

Defendants had an established business relationship because of the failure to comply with the Opt-

Out Notice Requirements in connection with such transmissions). By virtue thereof, Defendants

violated the JFPA and the regulations promulgated thereunder. Plaintiff is informed and believes,

and upon such information and belief avers, that Defendants may be continuing to send unsolicited

advertisements via facsimile transmission in violation of the JFPA and the regulations promulgated

thereunder, and absent intervention by this Court, will do so in the future.

       31.     The TCPA/JFPA provides a private right of action to bring this action on behalf of

Plaintiff and the Plaintiff Class to redress Defendants’ violations of the Act, and provides for

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statutory damages. 47 U.S.C. § 227(b)(3). The Act also provides that injunctive relief is

appropriate. Id.

       32.     The JFPA is a strict liability statute, so the Defendants are liable to the Plaintiff and

the other class members even if their actions were only negligent.

       33.     The Defendants knew or should have known that (a) the Plaintiff and the other class

members had not given prior express invitation or permission for the Defendants or anybody else

to fax advertisements about the Defendants’ products, goods or services; (b) the Plaintiff and the

other class members did not have an established business relationship; (c) Defendants transmitted

advertisements; (d) the Faxes did not contain the required Opt-Out Notice; and (e) Defendants’

transmission of advertisements that did not contain the required opt-out notice or were sent without

prior express invitation or permission was unlawful.

       34.     The Defendants’ actions caused damages to the Plaintiff and the other class

members. Receiving the Defendants’ junk faxes caused Plaintiff and the other recipients to lose

paper and toner consumed in the printing of the Defendants’ faxes. Moreover, the Defendants’

faxes used the Plaintiff's and the other class members’ telephone lines and fax machine. The

Defendants’ faxes cost the Plaintiff and the other class members time, as the Plaintiff and the other

class members and their employees wasted their time receiving, reviewing and routing the

Defendants’ unauthorized faxes. That time otherwise would have been spent on the Plaintiff's and

the other class members’ business activities. The Defendants’ faxes unlawfully interrupted the

Plaintiff's and other class members’ privacy interests in being left alone.

       WHEREFORE, Plaintiff, SENIOR CARE GROUP, INC., individually and on behalf of

all others similarly situated, demands judgment in its favor and against Defendants, D-ZEE

TEXTILES LLC and JOHN DOES 1-5, jointly and severally, as follows:




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        A.      That the Court adjudge and decree that the present case may be properly maintained

as a class action, appoint the Plaintiff as the representative of the class, and appoint the Plaintiff’s

counsel as counsel for the class;

        B.      That the Court award actual monetary loss from such violations or the sum of five

hundred dollars ($500.00) for each violation, whichever is greater, and that the Court award treble

damages of $1,500.00 if the violations are deemed “willful or knowing”;

        C.      That Court enjoin the Defendants from additional violations; and

        D.      That the Court award pre-judgment interest, costs, and such further relief as the

Court may deem just and proper.

                                                Respectfully submitted,

                                                SENIOR CARE GROUP, INC., individually, and
                                                as the representative of a class of similarly-situated
                                                persons

                                        By:     /s/ Ryan M. Kelly
                                                 Ryan M. Kelly – FL Bar No.: 90110

                                                ANDERSON + WANCA
                                                3701 Algonquin Road, Suite 500
                                                Rolling Meadows, IL 60008
                                                Telephone: 847/368-1500
                                                Fax: 847/368-1501
                                                rkelly@andersonwanca.com




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